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Adding Bar Membership record for Richard E. Lerner

Update Bar Membership Information
             Division Brooklyn   
 Bar Member Status Unknown                  
        Bar number RL6477
Method of Admission               
           Fee Status                                       Fee Year
        Slip Opinion no 
         CJA Status                         
         CLE Status            
            Remark1
             Remark2
          Date of Application
Date of Admission to the Bar
          Date First Appeared
 Submit      Clear




https://ecf.nyed.circ2.dcn/cgi-bin/ATYADM.pl?598617871007871-L_1_1-1     10/19/2016
